
92 N.Y.2d 915 (1998)
Jorawar Misir, Appellant,
v.
New York City Housing Authority et al., Respondents.
Court of Appeals of the State of New York.
Submitted September 8, 1998
Decided September 17, 1998.
Appeal, insofar as taken from that portion of the Appellate Division order which affirmed the denial of appellant's cross motion to amend the complaint, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such portion of the order does not finally determine the action within the meaning of the Constitution; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
